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           EXHIBIT E
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                                                                                       El Paso Firemen & Policemen’s Pension Fund Losses                                                                             GreenSky, Inc.



                                                                            Post‐Filing
                                                           Purchase Price                                                Sales on Class
             Transaction                                                     Sale Price    Class Period   Class Period
Trade Date                 # Shares      Share Price ($)     Limited by                                                     Period            Cost           Proceeds                          Damage Summary
                Type                                                        Limited by      Purchases        Sales
                                                             Offer Price                                                  Purchases
                                                                            Filing Price
8/21/2018     Purchase       3,033.00          18.2104           18.2104                         3,033            ‐               ‐       $    55,232.14             ‐      Total Purchases:                                24,740
8/22/2018     Purchase       7,939.00          17.8469           17.8469                         7,939            ‐               ‐       $   141,686.54             ‐      Total Sales:                                   (24,740)
8/23/2018     Purchase       2,626.00          18.1529           18.1529                         2,626            ‐               ‐       $    47,669.52             ‐      Total Sales on Purchases:                      (24,740)
8/23/2018     Purchase       2,480.00          18.1235           18.1235                         2,480            ‐               ‐       $    44,946.28             ‐      Shares Held:                                       ‐
8/23/2018     Purchase       1,368.00          18.1382           18.1382                         1,368            ‐               ‐       $    24,813.06             ‐      Price on Date of First Suit*:        $            9.92
8/24/2018     Purchase         714.00          19.2276           19.2276                           714            ‐               ‐       $    13,728.51             ‐
8/27/2018     Purchase       3,830.00          19.1175           19.1175                         3,830            ‐               ‐       $    73,220.03             ‐      Total Purchases:                     $      454,259.35
8/28/2018     Purchase       1,772.00          19.0934           19.0934                         1,772            ‐               ‐       $    33,833.50             ‐      Total Sales Proceeds:                $     (222,585.51)
8/29/2018     Purchase         978.00          19.5601           19.5601                           978            ‐               ‐       $    19,129.78             ‐      Total Retained Value:                $             ‐
11/6/2018       Sale        (3,621.00)             9.05                                            ‐           (3,621)         (3,621)               ‐   $    (32,770.05)
11/6/2018       Sale       (21,119.00)          8.9879                                             ‐          (21,119)        (21,119)               ‐   $   (189,815.46)   Total Loss:                          $     231,673.84

                                                                                                                                                                            *The Date of First Suit/Filing Date used is 11/12/2018.
